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UNITED STATES DICSTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________
UNITED STATES OF AMERICA,                                   1:20-cr-00160 (MKV)
                           -against-                           ORDER
JORGE NAVARRO, ERICA GARCIA, MARCOS
ZULUETA, MICHAEL TANNUZZO, SETH
FISHMAN, LISA GIANELLI, JORDAN
FISHMAN, RICK DANE, JR., CHRISTOPHER
OAKES, JASON SERVIS, KRISTIAN RHEIN,
MICHAEL KEGLEY, JR., ALEXANDER CHAN
and REBECCA LINKE
                  Defendants.
________________________________________
MARY KAY VYSKOCIL, United States District Judge
       As stated on the record at the conference on 5/14, the Court grants all requests from all
defendants to waive appearances. The Court further grants all consent to proceed by video
conference.

The Clerk of Court is respectfully requested to close the motions at ECF 367, 369, 370 and 371.




SO ORDERED.                               5/18/21
